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  8                              UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
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  11 BEACH DISTRICT SURGERY CENTER, L.P. Case No. 2:22−cv−03931−MCS−JPR
  12                       Plaintiff(s),          INITIAL STANDING ORDER
                                                  FOR CIVIL CASES ASSIGNED
              v.                                  TO JUDGE MARK C. SCARSI
  13
       CIGNA HEALTH AND LIFE INS. CO., et al.
  14
                          Defendant(s).
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  19           This case has been assigned to the calendar of Judge Mark C. Scarsi. Both the
  20    Court and counsel bear responsibility for the progress of this litigation in federal
  21    court. To "secure the just, speedy, and inexpensive determination" of this case,
  22    Fed. R. Civ. P. 1, all parties or their counsel are ordered to become familiar with
  23    the Federal Rules of Civil Procedure, the Local Rules of the Central District of
  24    California, and this Court’s standing orders.
  25    THE COURT ORDERS AS FOLLOWS:
  26     1.        Service of the Complaint
  27           The plaintiff shall promptly serve the complaint in accordance with Federal
  28    Rule of Civil Procedure 4 and file proof of service pursuant to Local Rule 4(l).


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   1    Rule 4(m) requires the summons and complaint to be served within 90 days. The

   2    Court expects service to be completed as soon as reasonably practicable. The Court

   3    will require plaintiff to show good cause to extend the service deadline beyond 90

   4    days.

   5     2.     Presence of Lead Counsel

   6          Lead trial counsel shall attend any scheduling, pretrial, or settlement

   7    conference set by the Court unless engaged in trial. Should that occur, counsel is

   8    to file a request for alternate or co-counsel to appear with a proposed order. The

   9    Court does not permit special appearances; only counsel of record may appear at

   10   any proceeding.

   11         The Court expects counsel to appear in person at any hearing. The Court only

   12   rarely permits telephonic appearances. Counsel seeking to appear by telephone

   13   must: (1) notify opposing counsel of the request to appear telephonically; (2) at

   14   least three court days before the hearing, file a request to appear telephonically

   15   and proposed order supported by a showing that personal appearance will cause

   16   undue hardship; (3) provide the Courtroom Deputy Clerk with the telephone

   17   number at which the Court can reach counsel; and (4) be available at that number

   18   for at least 30 minutes before and 30 minutes after the time of the scheduling

   19   hearing.

   20    3.     Ex Parte Applications

   21         Ex parte applications are solely for extraordinary relief and are rarely granted.

   22   See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488 (C.D. Cal.

   23   1995). Such applications must be supported by “evidence... that the moving party’s

   24   case will be irreparably prejudiced if the underlying motion is heard according to

   25   regularly noticed motion procedures,” and a showing “that the moving party is

   26   without fault in creating the crisis that requires ex parte relief, or that the crisis

   27   occurred as a result of excusable neglect.” Id. at 492. Ex parte applications that

   28   fail to conform to Local Rule 7-19, including a statement of opposing counsel’s


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  1    position, will not be considered, except on a specific showing of good cause.

  2          Counsel for the applicant must provide advance notice of the application by

  3    telephone and email to all other parties. In addition to the information required

  4    by Local Rule 7-19.1, the notice must advise the other parties of the anticipated

  5    deadline to oppose the application. The applicant must serve the application by

  6    facsimile, email, or personal service, even if electronic service is effected under

  7    Local Rule 5-3.2.1.

  8          Oppositions to ex parte applications must be filed within 24 hours of the filing

  9    of the application, subject to Rule 6(a)(2). If an opposing party does not intend

  10   to oppose the ex parte application, counsel must inform the Courtroom Deputy

  11   Clerk by telephone or email as soon as possible.

  12    4.   Continuances or Extensions of Time

  13         This Court is very committed to adhering to all scheduled dates. In general,

  14   this makes the judicial process more efficient and less costly. Changes in dates

  15   are disfavored. Trial dates set by the Court are firm and will rarely be changed.

  16   Therefore, any request, whether by application or stipulation, to continue the date

  17   of any matter before this Court must be supported by good cause demonstrating

  18   why the change in the date is essential. Without such compelling factual support,

  19   requests to continue dates set by this Court will not be approved. Counsel

  20   requesting a continuance must electronically file any application or stipulation

  21   with a proposed order and a detailed declaration of counsel providing the grounds

  22   for the requested continuance or extension of time. The Court will deny any

  23   request that fails to comply with the Local Rules and this Order. Proposed

  24   stipulations extending scheduled dates become effective only if, and when, this

  25   Court approves the stipulation as presented to, or modified by, the Court. Counsel

  26   should avoid submitting requests for a continuance fewer than seven calendar days

  27   prior to the earliest date subject to request. The Court presumes that there is no

  28   good cause to continue any deadline that will pass within a week of a continuance


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   1    request or has already passed.

   2     5.   TROs and Injunctions

   3          Parties seeking emergency or provisional relief shall comply with Federal

   4    Rule of Civil Procedure 65 and Local Rule 65-1. The application shall include a

   5    proof of service which complies with the Court’s requirements for ex parte

   6    applications or a separate request for service to be excused. The Court will not

   7    rule on any application for such relief for at least 24 hours after the party subject

   8    to the requested order has been served, unless service is excused. Counsel shall

   9    call the Courtroom Deputy Clerk no later than 30 minutes after filing the

   10   documents.

   11    6.   Cases Removed from State Court

   12         All documents filed in state court, including documents appended to the

   13   complaint, answers, and motions, must be re-filed in this Court as a supplement to

   14   the notice of removal. See 28 U.S.C. § 1447(a)-(b). If the defendant has not yet

   15   answered or filed a motion in response to the complaint, the answer or responsive

   16   pleading filed in this Court must comply with the Federal Rules of Civil Procedure

   17   and the Local Rules. If, before the case was removed, a motion or demurrer in

   18   response to the complaint was pending in state court, it must be re-noticed in this

   19   Court in accordance with Local Rule 6-1 and Local Rule 7. Counsel shall file with

   20   their first appearance a notice of interested parties in accordance with Local Rule

   21   7.1-1.

   22         If an action is removed to this Court that contains a form pleading, i.e., a

   23   pleading in which boxes are checked, the party or parties utilizing the form

   24   pleading must file an appropriate pleading with this Court within 30 days of receipt

   25   of the Notice of Removal. The appropriate pleading referred to must comply with

   26   the requirements of Federal Rules of Civil Procedure 7, 7.1, 8, 9, 10, and 11.

   27    7.   Status of Fictitiously Named Defendants

   28         This Court intends to adhere to the following procedures where a matter is


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  1    removed to this Court on diversity grounds with fictitiously named defendants. See

  2    28 U.S.C. §§ 1441, 1447.

  3             a.   Plaintiff is expected to ascertain the identity of, and serve, any

  4    fictitiously named defendant, within 90 days of the removal of the action to this

  5    Court.

  6             b. If plaintiff believes (by reason of the necessity for discovery or

  7    otherwise) that fictitiously named defendants cannot be identified within the

  8    90-day period, an ex parte application requesting permission to extend that period

  9    to effectuate service may be filed with this Court. Such an application shall state

  10   the specific reasons for the requested extension of time, including a description

  11   of all efforts made up to that time to identify and serve such defendants. The ex

  12   parte application shall be served upon all appearing parties, and shall state that

  13   appearing parties may file written comments within seven days of filings of the

  14   ex parte application.

  15            c. If plaintiff wants to substitute a defendant for one of the fictitiously

  16   named defendants, plaintiff shall first seek the consent of counsel for all defendants

  17   (and counsel for the fictitiously named party, if that party has separate counsel). If

  18   consent is withheld or denied, plaintiff should file a motion on regular notice. The

  19   motion and opposition should address whether the matter should thereafter be

  20   remanded to the Superior Court if complete diversity of citizenship would no

  21   longer be present as a result of the addition of the new party. See U.S.C. § 1447(c)

  22   and (d).

  23    8.   Discovery

  24            a.   Discovery Matters Referred to the Magistrate Judge

  25         All discovery matters, including all discovery motions, are referred to the

  26   assigned United States Magistrate Judge. The Magistrate Judge’s initials follow the

  27   District Judge’s initials next to the case number on this Order. All discovery-related

  28   documents must include the words "DISCOVERY MATTER" in the caption to


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  1    ensure proper routing. Counsel are directed to contact the Magistrate Judge’s

  2    Courtroom Deputy Clerk to schedule matters for hearing.

  3          In accordance with 28 U.S.C. § 636(b)(1)(A), the Court will not reverse any

  4    order of the Magistrate Judge unless it has been shown that the Magistrate Judge’s

  5    order is clearly erroneous or contrary to law.

  6          Any party may file and serve a motion for review and reconsideration before

  7    this Court. See Fed. R. Civ. P. 72(a). The moving party must file and serve the

  8    motion within 14 days of service of a written ruling or within 14 days of an oral

  9    ruling that the Magistrate Judge states will not be followed by a written ruling.

  10   The motion must specify which portions of the ruling are clearly erroneous or

  11   contrary to law and support the contention with points and authorities.

  12           b. Compliance with Federal Rule of Civil Procedure 26(a)

  13         Unless there is a likelihood that, upon motion by a party, the Court would

  14   order that any or all discovery is premature, counsel should begin to conduct

  15   discovery actively before the Scheduling Conference. Discovery is not stayed prior

  16   to the Scheduling Conference or after dates have been set unless otherwise ordered

  17   by the Court. At the very least, the parties shall comply fully with the letter and

  18   spirit of Rule 26(a) and thereby obtain and produce most of what would be

  19   produced in the early stage of discovery.

  20    9.   Motions

  21           a.   Time for Filing and Hearing Motions

  22         Motions shall be filed in accordance with Local Rule 6-1 and Local Rule 7.

  23   In general, this Court hears motions on Mondays, beginning at 9:00 a.m. If Monday

  24   is a national holiday, motions will be heard on the following Monday. It is not

  25   necessary to clear a hearing date with the Courtroom Deputy Clerk prior to the

  26   filing of a motion, but counsel shall review the Court’s closed motion dates prior

  27   to selecting a date.

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   1           b.   Briefing Motions

   2         Please read this section carefully. This Court’s schedule for briefing

   3    motions differs significantly from the briefing schedule set by the Local Rules.

   4         Any motion that is filed and set for a hearing to be held fewer than 35 days

   5    from the date of the filing of the motion shall be briefed pursuant to Local Rules

   6    7-9 and 7-10. Otherwise, motions shall be briefed according to the following

   7    schedule:

   8           (a). Any motion that is filed and set for a hearing between 35 and 70 days

   9    from the date of the filing of the motion: (i) any opposition must be filed no later

   10   than 14 days after the filing of the motion; and (ii) any reply must be filed no later

   11   than 21 days after the filing of the motion.

   12          (b). Any motion that is filed and set for a hearing more than 70 days from

   13   the date of the filing of the motion: (i) any opposition must be filed no later than

   14   21 days after the filing of the motion; and (ii) any reply must be filed no later than

   15   35 days after the filing of the motion.

   16          c.   Prefiling Requirement to Meet and Confer

   17        Counsel must comply with Local Rule 7-3, which requires counsel to engage

   18   in a prefiling conference "to discuss thoroughly... the substance of the contemplated

   19   motion and any potential resolution." Counsel should discuss the issues to a

   20   sufficient degree that if a motion is still necessary, the briefing may be directed to

   21   those substantive issues requiring resolution by the Court. Counsel should resolve

   22   minor procedural or other non-substantive matters during the conference, including

   23   the prospective hearing date. The in propria persona status of one or more parites

   24   does not alter this requirement.

   25          d.   Length and Format of Motion Papers

   26        Memoranda of points and authorities shall not exceed 25 pages, and all

   27   footnotes shall be in the same font size. Opposition briefs shall not exceed 25

   28   pages, and reply briefs shall not exceed 10 pages. All motion papers shall comply


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  1    with Local Rule 11-3. Only in rare instances and for good cause shown will the

  2    Court grant an application to extend these page limitations. No supplemental brief

  3    or surreply shall be filed without prior leave of Court.

  4         If documentary evidence in support of or in opposition to a motion or

  5    application exceeds 100 pages, the courtesy copy of the documents shall be placed

  6    in a binder, with an index and with each item of evidence separated by a tab

  7    divider. If such evidence exceeds 200 pages, the documents shall be placed in a

  8    slant D-ring binder, with an index and with each item of the evidence separated by

  9    a tab divider.

  10        Counsel shall adhere to Local Rule 5-4.3.1 with respect to the conversion of

  11   all documents to a PDF so that when a document is filed, it is in the proper size

  12   and format that is text-searchable. Further, all documents shall be filed in a format

  13   so that text can be selected, copied, and pasted directly from the document.

  14        Electronic nonpaper exhibits lodged under Local Rule 5-4.2(b)(1) (e.g., audio

  15   and video files) must be provided on a USB flash drive. The Court will not accept

  16   electronic exhibits provided by CD or DVD.

  17           e. Mandatory Chambers Copies

  18        Mandatory chambers copies shall be submitted pursuant to Local Rule 5-4.5.

  19   The Court requires copies of only: (i) motion papers (motions, oppositions, replies,

  20   non-oppositions, etc.), (ii) trial documents (joint statements of the case, proposed

  21   voir dire, jury instructions, verdict form, joint exhibit list, joint witness list, etc),

  22   (iii) ex parte applications relating to temporary restraining orders and preliminary

  23   injunctions and responses thereto, and (iv) presentation materials for patent cases.

  24        Pursuant to Local Rule 5-4.5, mandatory chambers copies must be delivered

  25   to the Clerk’s Office, located on the fourth floor of the First Street Courthouse, no

  26   later than 12:00 noon on the court day following the filing of the document.

  27   Mandatory courtesy copies of documents related to applications for temporary

  28   restraining orders must be submitted the day the application is filed. Chambers


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  1    copies must be printed from CM/ECF and include the CM/ECF-generated header.

  2    Any stapling or binding should not obscure the CM/ECF-generated header. The

  3    Court prefers that chambers copies not be two-hole punched or blue-backed; when

  4    possible, staple each copy only in the upper left hand corner.

  5            f. Citations of Case Law

  6         Citations of case law must identify not only the case cited, but also the specific

  7    page referenced. For example, if a quotation is presented, the associated page

  8    citation shall be provided. Similarly, if a case is cited in support of a proposition

  9    based on language in the opinion, the pages on which such language appears shall

  10   be provided. Bluebook style is preferred.

  11           g.   Citations of Other Sources

  12        Statutory references should identify with specificity the sections and

  13   subsections referenced. Citations of treatises, manuals, and other materials should

  14   include the volume, section, and pages that are referenced. Citations of prior filings

  15   in the same matter shall include the docket entry number, section, and pages that

  16   are referenced. Bluebook style is preferred.

  17           h. Oral Argument

  18        If the Court deems a matter appropriate for decision without oral argument,

  19   the Court will notify the parties in advance. C.D. Cal. R. 7-15.

  20     10.   Specific Motions

  21           a.   Rule 12 Motions

  22        Many motions to dismiss or to strike can be avoided if the parties confer in

  23   good faith (as required by Local Rule 7-3), especially where perceived defects in a

  24   complaint, answer, or counterclaim could be corrected by amendment. See Chang

  25   v. Chen, 80 F. 3d 1293, 1296 (9th Cir. 1996) (where a motion to dismiss is granted,

  26   a district court should provide leave to amend unless it is clear that the complaint

  27   could not be saved by any amendment). These principles require that plaintiff’s

  28   counsel carefully evaluate defendant’s contentions as to the deficiencies in the


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   1    complaint. In most instances, the moving party should agree to any amendment

   2    that would cure the defect.

   3         If a motion to dismiss is granted with leave to amend, counsel shall attach as

   4    an appendix to an amended pleading a "redline" version of the amended pleading

   5    showing all additions and deletions of material.

   6           b. Motions for Leave to Amend

   7         All motions for leave to amend pleadings shall: (1) state the effect of the

   8    amendment and (2) identify the page and line numbers and wording of any

   9    proposed change or addition of material. The proposed amended pleading shall

   10   be serially numbered to differentiate it from previously amended pleadings.

   11        In addition to the requirements of Local Rule 15, counsel shall attach as an

   12   appendix to the moving papers a "redline" version of the proposed amended

   13   pleading showing all additions and deletions of material.

   14          c. Motions for Summary Judgment

   15        Parties need not wait until the motion cut-off date to bring a motion for

   16   summary judgment or partial summary judgment. A party moving for summary

   17   judgment must file the motion at least 35 days before the hearing. The parties

   18   should prepare papers in a fashion that will assist the Court in locating the

   19   evidence with respect to the facts (e.g., generous use of tabs, tables of contents,

   20   headings, indices, etc.). The parties are to comply precisely with Local Rule 56.

   21                i.   Statement of Uncontroverted Facts and Genuine Disputes

   22        The Statement of Uncontroverted Facts and Conclusions of Law

   23   ("Statement of Uncontroverted Facts"), as required by Local Rule 56-1, shall be

   24   separately lodged and identify each claim for relief on which the moving party

   25   seeks summary judgment and the legal grounds for summary judgment. In a

   26   two-column format beneath the identified claim for relief, the left-hand column

   27   shall set forth, sequentially numbered, each allegedly uncontroverted material fact

   28   as to that claim for relief, and the right-hand column shall set forth the evidence


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   1    that supports the factual statement. Citation of the supporting evidence shall be

   2    specific, including reference to the docket number, exhibit, page, and line number.

   3    The Statement of Uncontroverted Facts shall be formatted based on the following

   4    examples:

   5    Plaintiff’s Claim for Relief for          Is Barred by the Applicable Statute of

   6    Limitations. (Cite)

   7     1. (Moving party’s first undisputed fact)    (Supporting evidence citation, e.g.,
                                                       Dkt 50, Exh. 5 at 7:3-5)
   8     2. (Moving party’s second undisputed         (Supporting evidence citation, e.g.,
             fact)                                     Dkt. 51-5, Exh. 5 at 8:4-5)
   9
   10         The opposing party’s Local Rule 56-2 Statement of Genuine Disputes of

   11   Material Fact must be in two columns and track the movant’s separate statement

   12   exactly as prepared. The left-hand column must restate the allegedly undisputed

   13   fact and the alleged supporting evidence, and the right-hand column must state

   14   either that it is undisputed or disputed. The opposing party may dispute all or only

   15   a portion of the statement, but if disputing only a portion, such party must clearly

   16   indicate what part is being disputed, followed by the opposing party's evidence

   17   controverting the fact. To demonstrate that a fact is disputed, the opposing party

   18   must briefly state why it disputes the moving party’s asserted fact, cite the

   19   relevant exhibit or other evidence, and describe what it is in that exhibit or

   20   evidence that refutes the asserted fact. No legal argument should be set forth in

   21   this document.

   22         The opposing party may submit additional material facts that bear on, or

   23   relate to, the issues raised by the movant, which shall follow the format described

   24   above for the moving party’s Statement of Undisputed Facts. These additional

   25   facts shall continue in sequentially numbered paragraphs and shall set forth in the

   26   right-hand column the evidence that supports that statement. Additional material

   27   facts shall be filed in a separate document from the Statement of Genuine Disputes.

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   1                    ii.    Supporting Evidence

   2         No party shall submit evidence other than the specific items of evidence or

   3    testimony necessary to support or controvert a proposed statement of undisputed

   4    fact. For example, entire deposition transcripts, entire sets of interrogatory

   5    responses, and documents that do not specifically support or controvert material in

   6    the separate statement shall not be submitted in support of or opposition to a

   7    motion for summary judgment.

   8         Evidence in support of, or in opposition to, a motion should be submitted

   9    either by way of stipulation or as exhibits to declarations sufficient to authenticate

   10   the proffered evidence and should not be attached to the memorandum of points

   11   and authorities. Documentary evidence as to which there is no stipulation regarding

   12   foundation must be accompanied by the testimony, either by declaration or

   13   properly authenticated deposition transcript, or a witness who can establish

   14   authenticity.

   15        The parties shall ensure that electronically filed copies of evidence in support

   16   of, or in opposition to, a motion for summary judgment are in the proper format.

   17   Thus, all documents must be text-searchable and have selectable text that may be

   18   copied and pasted directly from the filed document.

   19        Additionally, testimony cited in a statement of uncontroverted facts,

   20   statement of genuine material facts, or statement of additional material facts shall

   21   be highlighted and/or underlined.

   22                   iii.   Objections to Evidence

   23        Evidentiary objections to a declaration submitted in connection with a motion

   24   or other matter shall be made in writing and served and filed at the same time as,

   25   but separately from, the opposition or reply papers. If a party disputes a fact based

   26   in whole or in part of an evidentiary objection, the ground of the objection should

   27   be succinctly stated in a separate statement of evidentiary objections in a

   28   three-column format:


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   1                       a. The left column should include the relevant portions of any

   2                           declaration or deposition, which shall include the highlighted,

   3                           underlined, and/or bracketed portions that are being objected

   4                           to (including page and line number, if applicable). Each

   5                           objection shall be numbered and located within the copy of

   6                           the declaration.

   7                       b. The middle column should set forth a concise objection (e.g.,

   8                           hearsay, lacks foundation, etc.) with a citation of the Federal

   9                           Rules of Evidence or, where applicable, a case citation.

   10                      c. The right column should provide space for the Court’s entry

   11                          of its ruling on the objection.

   12                      d. A proposed order shall be filed and attached to the evidentiary

   13                          objections as a separate document consistent with Local Rule

   14                          52-4.1 and either uploaded through the CM/ECF system or

   15                          emailed directly to mcs_chambers@cacd.uscourts.gov.

   16        See Exhibit A. Counsel shall adhere to this format for any evidentiary

   17   objections that are submitted to the Court for consideration.

   18           d. Motions for Attorney’s Fees

   19        Motions for attorney’s fees shall be filed and set for hearing according to

   20   Local Rule 6-1 and this Order. Any motion or request for attorney’s fees shall

   21   attach two summaries, in table form, of the hours worked by and billing rate of

   22   each attorney with title (i.e., partner, local counsel, associate, etc.).

   23        The first table shall include a summary of the hours worked by each attorney,

   24   organized by task (i.e., discovery, motion to dismiss, motion for summary

   25   judgment). If the hourly rate charged by any individual attorney changed while the

   26   case was ongoing, the party shall provide separate calculation for the total number

   27   of hours that the attorney spent in connection with each task at each hourly rate.

   28        The second table shall include a summary of the hours worked by each


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   1    attorney, organized by attorney. This table shall list all of the tasks on which the

   2    attorney worked, the hours worked on each task, and the hourly rate of each

   3    attorney.

   4         Any table as set forth above shall be attached to the motion and electronically

   5    filed. A copy of the table shall be emailed to mcs_chambers@cacd.uscourts.gov

   6    in Microsoft Excel format and have all restrictions removed so that the spreadsheet

   7    can be edited. See Exhibit B.

   8           e.   Motions for Preliminary and Final Approval of Class Action

   9                 Settlement

   10        Parties submitting a motion for preliminary or final approval of a class

   11   settlement shall include a spreadsheet supporting any proposed award of attorney’s

   12   fees. The spreadsheet shall include an estimate of any future attorney’s fees for

   13   which compensation will be sought, the normal hourly rate of all counsel for whom

   14   entries appear on the spreadsheet, the support for such hourly rate(s), and an

   15   explanation of the basis of any service enhancement award for lead plaintiff(s),

   16   including the hours worked and activities performed by such lead plaintiff(s). A

   17   copy of the table shall be emailed to mcs_chambers@cacd.uscourts.gov in

   18   Microsoft Excel format and have all restrictions removed so that the spreadsheet

   19   can be edited. See Exhibit B.

   20    11.    Under Seal Documents

   21        Counsel shall comply with Local Rule 79-5. All applications must provide

   22   the reason(s) why the parties’ interest in maintaining the confidentiality of the

   23   document(s) outweighs the public’s right of access to materials submitted in

   24   connection with a judicial proceeding. Counsel are ordered to meet and confer in

   25   person or by telephone at least seven calendar days prior to the filing of an

   26   application in which the basis for the requested sealing is stated to determine if they

   27   can agree on the proposed under seal filing. No later than two calendar days after

   28   the meet and confer process has concluded, the non-proposing party shall confirm


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   1    whether it agrees to having such information designated as confidential or whether

   2    it opposes an under seal filing. Any application for under seal filing, whether or

   3    not opposed, shall contain the dates and method by which the parties met and

   4    conferred. If such information is not provided, the application will be denied

   5    without prejudice to an amended application being filed that complies with the

   6    foregoing terms.

   7           Filing Applications for Leave to File Under Seal

   8           1.          The application for leave to file under seal shall be filed on the

   9                       public docket and shall attach a proposed order pursuant to Local

   10                      Rule 5-4.4.1 and 5-4.4.2. Any declaration that supports the

   11                      application shall also be attached to the application unless it

   12                      contains confidential information. The declaration shall be filed

   13                      under seal as its own docket entry if it contains confidential

   14                      information.

   15          2.          The unredacted version of all documents sought to be sealed

   16                      shall be filed provisionally under seal. The documents may be

   17                      attached to the declaration that supports the application, if the

   18                      declaration is sealed and is filed as its own docket entry.

   19                      Otherwise, the documents should be filed separately under

   20                      provisional seal. The title shall include "Unredacted" or "Sealed"

   21                      as the first word of the title of the document. Any provisionally

   22                      sealed document must clearly mark the information that is

   23                      confidential or privileged via highlighting in color and/or using

   24                      brackets.

   25          3.          The Court will review the submitted documents and determine

   26                      whether the documents can be sealed. If the application is

   27                      granted, counsel shall file:

   28                           i.   The unredacted version of the entire document as its own


                                                 15
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   1                             docket entry. The title shall include "Unredacted" or

   2                             "Sealed" as the first word of the title of the document.

   3                             Any information that has been redacted or omitted from

   4                             the public filing must be clearly marked via highlighting

   5                             in color and/or using brackets.

   6                       ii.   The redacted version of the entire document as its own

   7                             docket entry. Unless otherwise stated in the order

   8                             granting the application, a redacted version is required

   9                             of all sealed documents. The title shall include

   10                            "Redacted" as the first word of the title of the document.

   11                            Any information that is confidential or privileged must

   12                            be blacked out or a page shall be inserted with the title

   13                            of the document that indicates that the entire document

   14                            is sealed.

   15                  Closely related materials filed at the same time where some are

   16                  proposed to be filed under seal and others will not be sealed shall

   17                  be considered as a single document and filed as a single docket

   18                  entry containing multiple attachments. For example, if certain

   19                  exhibits to a declaration are to be filed under seal, even if other

   20                  exhibits or the declaration are not, the entire document for which

   21                  permission to seal should be sought is the declaration and all

   22                  exhibits. The docket shall therefore include:

   23                      i.    One unredacted, sealed docket entry containing the

   24                            declaration with all exhibits, including sealed exhibits,

   25                            filed as an attachment to the declaration; and

   26                      ii.   a separate, redacted docket entry containing the

   27                            declaration with all exhibits, including redacted

   28                            exhibits, filed as an attachment to the declaration.


                                              16
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   1      12.   Initial Pleadings

   2         Counsel shall comply with Local Rule 3 when filing initial pleadings. All

   3    initiating pleadings, including third-party complaints, amended complaints,

   4    complaints in intervention, counterclaims, and crossclaims, shall be filed as a

   5    separate document. None shall be combined with an answer.

   6      13.   Amended Pleadings

   7         Every amended pleading shall be serially numbered to differentiate the

   8    pleading from prior pleadings, e.g. First Amended Complaint, Second Amended

   9    Counterclaim, Third Amended Crossclaim, etc. Counsel shall attach as an

   10   appendix to all amended pleadings a "redline" version of the amended pleading

   11   showing all additions and deletions of material from the most recent prior pleading.

   12     14.   Pro Se/Self-Represented Parties

   13        Pro se/self-represented parties may continue to present all documents to the

   14   Clerk for filing in paper format pursuant to Local Rule 5-4.2. However, the Court

   15   will also permit self-represented parties to present all documents to the Clerk for

   16   for filing by email so long as they comply with the following requirements:

   17           (a)   The document shall be prepared so that it complies with the

   18   requirements set forth in Local Rule 11-3, i.e., legibility, font, paper, pagination,

   19   spacing, title page, page limits, etc.

   20           (b)   The document shall be emailed as a PDF document to

   21   mcs_chambers@cacd.uscourts.gov no later than the date it is due. The Court will

   22   deem the date the document is emailed as the filed or lodged date. The subjet line

   23   of the email shall contain: (i) the case number, (ii) case name, and (iii) "Pro Se

   24   Filing" to ensure it will be filed/lodged properly.

   25           (c)   Pro se/self-represented parties may use the chambers email solely to

   26   present documents for filing. The chambers email is not to be used in any way to

   27   communicate with the Judge or Clerk. All parties, including pro se/self-represented

   28   parties, shall refrain from writing letters to the Court, sending email messages,


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   1     making telephone calls to chambers, or otherwise communicating with the Court

   2     unless opposing counsel is present. All matters must be called to the Court’s

   3     attention by appropriate application or motion C.D. Cal. R. 83-2.5.

   4          The Court expects pro se/self-represented parties to comply with the Local

   5     Rules and the rules set by this Court. The Court has a Pro Se Clinic available to

   6     assist those persons who do not have an attorney to represent them. Clinics are

   7     located in Los Angeles, Riverside, and Santa Ana. More information can be

   8     obtained by calling (213) 385-2977, ext. 270, or visiting the Court’s website at

   9     http://prose.cacd.uscourts.gov/.

   10      15.    Notice of This Order/Electronically Filed Documents

   11         If this case was initiated in this Court, plaintiff(s) shall immediately serve this

   12    Order on all parties, including any new parties to the action. If this case was

   13    removed from state court, the removing defendant(s) shall serve this Order on

   14    all other parties.

   15         Any document that is electronically filed shall be served by mail that same

   16    day on any party or attorney who is not permitted or has not consented to electronic

   17    service, with a proof of service to be filed within 24 hours.

   18
   19
   20
            IT IS SO ORDERED.
   21
   22
        Dated: June 9, 2022
   23                                        HONORABLE MARK C. SCARSI
                                             UNITED STATES DISTRICT JUDGE
   24
   25
   26
   27
   28


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   1
                                  EXHIBIT A: FORMAT FOR EVIDENTIARY OBJECTIONS
   2
   3
                  Declaration/Testimony of _______                                          Objection             Ruling
   4
   5
   6     Example 1: Entire Declaration of John
         Smith
   7
   8
         Start of Deposition.......................................
   9
                                                                                     1. E.g., Hearsay, cite. 1. Sustained /
   10    [1. Language subject to objection]                                                                     Overruled

   11    .......................................................................

   12
         ........................................................................
   13
         .........................................................................
   14
                                                                                     2. E.g., Lacks         2. Sustained /
   15   [2. Language subject to objection]                                              foundation, cite.      Overruled

         ........................................................................
   16
   17    ........................................................................

   18    ........................................................................
   19
   20    [3. Language subject to objection]
                                                                                     3. E.g., Hearsay, cite. 3. Sustained /
   21    .......................................................................                                Overruled

   22    .......................................................................

   23
         .......................................................................
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   1
                   EXHIBIT B: FORMAT FOR ATTORNEY’S FEES SUMMARY CHARTS
   2
                                               Table 1
   3                                  Task 1: Motion to Dismiss
                  Attorney           Rate                  Hours                Fee
   4
         Attorney 1            $XXX/hour            Total hours spent by $XXX
   5     (position)                                 Attorney 1 on Task 1
         Attorney 1            $XXX/hour            Total hours spent by $XXX
   6     (position)                                 Attorney 1 on Task 1
                    Fee Request for Task 1               Task 1 Sum        Task 1 Sum
   7
                                 Task 2: Motion for Summary Judgment
   8     Attorney 1            $XXX/hour            Total hours spent by $XXX
         (position)                                 Attorney 1 on Task 1
   9
         Attorney 1            $XXX/hour            Total hours spent by $XXX
         (position)                                 Attorney 1 on Task 1
   10
                    Fee Request for Task 1               Task 1 Sum        Task 1 Sum
   11
   12
                                                Table 2
   13     Attorney            Rate              HOURS BY TASK               TOTALS
          Attorney 1                    Task            Total Hours    Hours:
   14     (position)                                    Spent by       Amount:$
                                                        Attorney on
   15                                                   Task
                                        i.e., Motion to
   16                                   Dismiss
                                        Discovery
   17                                   Deposition
   18                                   Task 4
                                        Task 5 (etc.)
   19     Attorney 1                    Task            Total Hours    Hours:
          (position)                                    Spent by       Amount:$
   20                                                   Attorney on
                                                        Task
   21
          Total                                                        Hours:
   22                                                                  Amount:$

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